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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF GEORGIA,
                         STATESBORO DIVISIO N

LYNETTE TANKERSLEY EDEN ,

      Plaintiff,                   )

vs .       )        Case               No . CV605-04 3
                                   }
CITIFINANCIAL            AUTO,    }
LTD .,
                                   }
      Defendant .


        Plaintiff's Response to Motion for Summary Judgment

                Statement Controverting CitiFinancial' s
                      Statement of Material Fact s

       Ms . Eden controverts the ninth paragraph and the tenth pa-

ragraph of the lender's statement of material facts .

ALLEGATION NINE . The ninth paragraph says ,

            The next day, December 4, 2003, in compliance
       with O .C .G .A . §§ 11-9-611 and 10-1--36, CitiFinanc-
       ial sent to .Plaintiff and her son by certified
       mail letters notifying them that CitiFinancial had
       the car (which, of course, Ramsey Eden already
       knew), that CitiFinancial planned to sell the car
       at a private sale, the date of the proposed sale,
       that they had a right to request'a public sale,
       that CitiFinancial might seek from them the defic-
       iency after the sale, and that they had a right to
       redeem the car prior to the sale .

 (Doc . 32, p . 3, It 9) .

        There is not evidence that the defendant sent these let-

ters . (Doc . 28, ¶I{ 7 - 11, pp . 14, 15 ; Doc . 32, Affidavit of

Thomas Jacobs, ¶ 7, p . 3, Exhibits E and F ; Doc . 36, p . 72, 1 .

22 - p . 73, 1 . 20, Exhibit 8 ; Doc . 35, p . 52, 1 . 8 - p . 53, 1 .

5, Defendant's Exhibit 7 ; Doc . 39, Requests for Admissions of
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Fact and Genuineness of Documents, ¶f[ 8 and 9, p . 2, Exhibit

CITI 0054, Defendant's Responses to Plaintiff's Requests for Ad-

missions of Fact and Genuineness of Documents, ¶J 8 and 9, p . 5 )

        The only admissible evidence is that these letters were

not sent . F .R .E . 406 ; In re : East Coast Brokers and Packers

Inc . , 961 F .2d 1543 (11th Cir . 1992) ;   Busquet vs . Ashcroft , 333

F .3d 1008 (9th Cir . 2003) ; Mulder vs . Commissioner of Internal

Revenue , 855 F .2d 208 (5th Cir . 1988) ; Leasing Associates,        Inc .

vs .   Slaughter & Son,   Inc ., 450 F .2d 174 (8th Cir . 1971) .


ALLEGATION TEN . The tenth paragraph says, "The December 4, 2003

letters are based on the form provided in O .C .G .A . § 11-9-614 . "

         The lender's notice form does not express intent to pursue

a deficiency . (Doc . 32, Affidavit of Thomas Jacobs, ¶[ 7, p . 3,

Exhibits E and F )

         It did not comply with the legislative intent of the stat-

ute . It did not use the language of the statute . It was void

ab initio . OFFICIAL CODE OF GA . ANN . §§10-1-36, -9-614(3) :            Bar-

nett vs . Trussell Ford, Inc . , 129 Ga . App . 176, 198 S .E . 2d 903

(1973) .
                                                             *

         Ms . Eden also observes that the lender alleges neither

truth nor absence of malice so that the allegations are not suf-

ficient to support summary judgment on defamation . A "party

seeking summary judgment always bears the initial responsibility

of informing the district court of the basis for its motio n

           Celotex Corp . vs . Catrett , 477 U .S . 317, 323, 106 S .Ct .



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2548, 2554, 91 L .Ed . 2d 265, 273 (1986) .


                                   Brie f

Background

      The lender repossessed a car from Ms . Eden . The reposses-

sion was voluntary . The "guy" came to Ms . Eden's son and asked

for the car, and he surrendered it . (Doc . 32, p . 3, ¶ 8 ; Doc .

35, p . 40, 1 . 15 - p . 41, 1 . 8 )

      Georgia law requires certain post-repossession notices .

Ms . Eden did not receive these notices . This evidence is not

disputed . (Doc . 28, ¶11 7 - 11, pp . 14,    15 ;   Doc . 36, p . 72, 1 .

22 - p . 73, 1 . 20, Exhibit 8 )

      The lender claims that notice was mailed by certified

mail, but there is not a receipt or any other documentation from

the United States Postal Service that would prove the deposit of

certified mail . There is not even a certification number . The

only proffer that notice was posted is an affidavit from an emp-

loyee in Colorado . The notice alleged to have been sent is from

an office in Charlotte, North Carolina . (Doc . 32, Affidavit of

Thomas Jacobs, Exhibit E )

      The proffer in its entirety says ,

           The next day, December 4, 2003, in compliance
      with O .C .G .A . §§ 11-9-611 and 10-1-36, CitiFinanc-
      ial sent to Plaintiff and Ramsey Eden via Certified
      Mail, at their last known addresses, letters notif-
      ying them that CitiFinancial had the car, that Cit-
      iFinancial planned to sell the car at a privat e
      sale, the date of the proposed sale, that they had
      a right to request a public sale, that CitiFinanc-




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        ial might seek from them the deficiency after the
        sale, and that they had a right to redeem the car
        prior to the sale . (Copies of these letters are
        attached hereto as Exs . E and F )

(Doc . 32, Affidavit of Thomas Jacobs, 7, p . 3 )

       The witness does not say who generated nor sent the no-

tices . There is not testimony from anyone with specific recol-

lection of them . There is not evidence of an office routine . A

notice which the lender claims was posted simultaneously with

that to Ms . Eden was also not delivered . (Doc . 32, Affidavit of

Thomas Jacobs, Exhibit F ; Doc . 35, p . 52, 1 . 8 - p . 53, 1 . 5,

Defendant's Exhibit 7 )

       About the lender's intent to pursue a deficiency claim

against Ms . Eden, the notice which it claims to have sent says

only, "If we get less money than you owe, you may still owe us

the difference ." (Doc . 32, Exhibit E )

       Its executive characterizes the notice to say about its

intent to pursue a deficiency claim "that CitiFinancial might

seek from them the deficiency after the sale" . (Doc .32, Affida-

vit of Thomas Jacobs, 4 7, p . 3 )

       The lender's records say that "letter sent 12/4 was re-

turned destroyed may need to be recreated if nec ." (Doc . 39,

Requests for Admissions of Fact and Genuineness of Documents, Rf

8 and 9, p . 2, Exhibit CITI 0054, Defendant's Responses to

Plaintiff's Requests for Admissions of Fact and Genuineness of

Documents, ¶{ 8 and 9, p . 5 )

       CitiFinancial does not claim to have resent the certifie d



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letter . (Doc . 39, Requests for Admissions of Fact and Genuine-

ness of Documents, ¶[[ 8 and 9, p . 2, Exhibit CITI 0054, Defen-

dant's Responses to Plaintiff's Requests for Admissions of Fact

and Genuineness of Documents, ¶j 8 and 9, p . 5 )

          The lender claimed a deficiency . (Doc . 36, Defendant's

Exhibit 9 )

          The lender reported Ms . Eden to at least one credit-

reporting agency . The report said that the repossession was

"Involuntary" . The report was renewed as recently as November,

2005 . (Doc . 36, Exhibit 12 ; Exhibit P-11, attached, p . 5 )

          The lender referred Ms . Eden's account to two debt col-

lection agencies . They were told that a deficiency was owed and

that the account "is considered 'Charged Off' or in 'Default' ."

(Exhibits P-6, P-7, P-8 and P-9, attached )

          Each of these collection agencies made inquiries about

Ms . Eden which appeared on her credit history . (Doc . 36, Exhib-

it 12 ; Exhibit P-11, attached, p . 8 )

          At least one potential creditor denied credit to Ms . Eden

based upon this specific credit report . (Exhibit P-12, at-

tached)

          Ms . Eden notified the lender that she did not owe it any-

thing . The credit report was not changed . The collection at-

tempts continued . (Exhibits P-8, P-9 and P-10, attached )

          Ms . Eden moved for summary judgment on her claims for vi-

olations of the Motor Vehicle Sales Finance Act and the Uniform

Commercial Code and on the lender's counterclaim . The lende r



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moved for summary judgment on each issue .

Standard for Summary Judgmen t

            Of course, a party seeking summary judgment al-
       ways bears the initial responsibility of informing
       the district court of the basis for its motion, and
       identifying those portions of 'the pleadings, depos-
       itions, answers to interrogatories, and admissions
       on file, together with the affidavits, if any,'
       which it believes demonstrate the absence of a genu-
       ine issue of material fact .

Celotex Corp . vs . Catrett , 477 U .S . 317, 323, 106 S .Ct . 2548 ,

2554, 91 L .Ed . 2d 265, 273 (1986) .

       Upon any motion for summary judgment pursuant to
       Rule 56 of the Federal Rules of Civil Procedure, in
       addition to the brief, there shall be annexed to the
       motion a separate, short, and concise statement of
       the material facts as to which it is contende d
        there exists no genuine issue to be tried as well as
        any conclusions of law thereof .

L .R . 56 .1 . Summary judgment is proper only if "there is no gen-

uine issue as to any material fact and .       .   . the moving party is

entitled to a judgment as a matter of law ." F .R .Civ .P . 56(c) .

        In reviewing a district court's grant of summary
        judgment, this court applies the same standard as
        the district court and views the facts in th e
        light most favorable to the nonmovant, giving it
        the benefit of all reasonable inferences to be
        drawn from the facts .

Harlston vs . McDonnell Douglas Corp_ . , 37 F .3d 379, 382 (8th Cir .

1994) . The movant has "the burden of showing the absence of a

genuine issue as to any material fact, and for these purposes

the material it lodged must be viewed in the light most favora-

ble to the opposing party ."     Adickes vs . Kress & Co . , 398 U .S .

144, 157, 90 S .Ct . 1598, 1608, 26 L .Ed . 2d 142, 154 (1970) .
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         [S]ummary judgment is an extreme remedy, and one
         which is not to be granted unless the movant has
         established his right to a judgment with such
         clarity as to leave no room for controversy and
         that the other party is not entitled to recover
         under any discernible circumstances .

Johnson Grain Co . vs . Chemical Interchange Co . , 541 F .2d 207 ,

209, 210 (8th Cir . 1976) .

         This rule authorizes summary judgment "only
         where the moving party is entitled to judg-
         ment as a matter of law, where it is quite
         clear what the truth is . . . [and where] no
         genuine issue remains for trial . . . [for] the
         purpose of the rule is not to cut litigants off
         from their right to trial by jury if they really
         have issues to try . "

Poller vs . Columbia Broadcasting System, Inc . , 368 U .S . 464 ,

467, 82 S .Ct . 486, 489, 7 L .Ed . 2d 458, 461      (1961) .


Issues

1 . Did the lender properly send post-repossession notices to

    Ms . Eden ?

2 . Does the lender's failure to allege truthfulness in its

    statement of undisputed material facts preclude summary ex-

    amination of that issue ?

3 . If not, is there evidence that the lender's publications

    were false ?

4 . Does the lender's failure to allege absence of malice in its

    statement of undisputed material facts or in its brief pre-

    clude summary examination of that issue ?

5 . If not, is there evidence that the lender's publication were

    malicious ?

6 . Do publications made other than to a credit-reporting agenc y



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    require a showing of malice to be actionable?

Citations of Authorit y

I . MS . EDEN'S CAUSES OF ACTIO N

       The lender argues (A) that it sent a letter to Ms . Eden

by certified mail, which letter complied with the Motor Vehicle

Sales Finance Act, (B) that the same letter complied with the

requirements of the Uniform Commercial Code, (C) that it is not

subject to the Fair Debt Collection Practices Act, (D) that

there is not a private right of action under the Fair Credit Re-

porting Act, and (E) that Ms . Eden's claims for attorney's fees

and punitive damages fail but only because the underlying sub-

stantive causes of action each fail .

       The responses here to the arguments about the Motor Ve-

hicle Sales Finance Act and the Uniform Commercial Code (A and

B) are shorter versions of Ms . Eden's briefs in support of her

motion for partial summary judgment . The issues are identical,

except that the issue of CitiFinancial's willfulness in its Mot-

or Vehicle Sales Finance Act violations goes only to Ms . Eden's

right to recover and is not an issue in CitiFinancial's motion .

A . Motor Vehicle Sales Finance Ac t

       Ms . Eden did not receive notice . CitiFinancial does not

have any Postal Service receipts . It did not prove mailing be-

cause it did not prove course of business . The alleged notice

does not state an intent to pursue a deficiency .

       Evidence "that it was never received" is evidence that

notice under the Motor Vehicle Sales Finance Act was not mailed .



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Pitts vs . Bank South Corp . , 209 Ga . App . 124, 433 S .E . 2d 96, 97

(1993) . No " presumption of delivery exists for certified mail

when the requested return receipt is not received by the send-

er ."     Busquets vs . Ashcroft , 333 F .3d 1008, 1009 (9th Cir . 2003)

( emphasis original ) . "In order to raise the presumption of

mailing, the evidence must consist of more than unsupported con-

clusory statements of an individual based on his assumption of

how mail was handled in the normal course of business in his of-

fice ."     In re : East Coast Brokers and Packers, Inc . , 961 F .2d

1543, 1545 (11th Cir . 1992) . "The essential elementary facts

may be shown by course of business properly proved, but an offer

of [such] proof       .   .   . must be directed to facts and not to mere

conclusions" .      Leasing Associates, Inc . vs . Slaughter & Son ,

Inc . , 450 F .2d 174, 180 (8th Cir . 1971) . Even had it been

mailed, CitiFinancial's form was probably void ab initio because

the form says that CitiFinancial "may" pursue a deficiency . The

Motor Vehicle Sales Finance Act requires a repossessing creditor

to give notice of "intention to pursue a deficiency claim ag-

ainst the buyer ." OFFICIAL CODE OF GA . ANN . §10-1-36 .

B.      Uniform Commercial Cod e

           CitiFinancial says that it sent one notice, and that that

one notice counts for both statutes, so the same authorities

cited about mailing under the Motor Vehicle Sales Finance Act

apply equally to the Uniform Commercial Code requirements, ex-

cept that in addition the rule applies that one who chooses to

use certified mail where not required is bound to the evidentia-



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ry rules applicable to certified mailing . see, e .g ., Busquet

vs . Ashcroft , 333 F .3d 1008 (9th Cir . 2003) . Also, the lender

says that it relied on a U .C .C . form, but the form says, "If we

get less money than you owe, you ( will or will not, as applicab-

le) still owe us the difference ." OFFICIAL CODE OF GA . ANN .

§10-9-614(3) ( emphasis original ) .


C.   Fair Debt Collection Practices Ac t

        This is moot .   I signed on January 17 and mailed to the

lender for consent an amended pleading withdrawing this cause of

action , which pleading was then filed . (Doc . 38 )


D.   Defamatio n

        CitiFinancial published defamatory statements to at least

one credit-reporting agency, Equifax Information Services,

L .L .C ., and to two debt collection agencies ,   Dynamic Recovery

Services ,   Inc . and Commercial Recovery Systems, Inc .



        Ms . Eden ' s cause of action for defamation published to

the credit-reporting agency is for "false information furnished

with malice or willful intent to injure ",      so the Fair Credit Re-

porting Act does not preempt it . 15 U .S .C . A . §1681h(e) .

        The Fair Credit Reporting Ac t

        preempts only defamation actions that do not allege
        malice or willful intent to injure . . .  One canon
        of statutory construction mandates that a general
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          statute yield when there is a specific statute invol-
          ving the same subject matter . . . Section 1681h(e)
          is a more specific statute, which preempts only a
          limited number of common law torts rather than all
          state claims that regulate furnishings of informa-
          tion to credit reporting agency .

Gorman vs . Wolpoff & Abramson, L .L .P . , 370 F .Supp . 2d 1005 ,

1009, 1010 (N .D . Cal . 2005) . See Beattie vs . Nationscredit Fin-

ancial Services Corp . , 65 Fed . Appx . 893, 2003 WL 21213703 (4th

Cir . 2003) ;   Lawrence vs . Trans Union, L .L .C . , 296 F .Supp . 2d 582

(E .D . Pa . 2003) ; Jeffery vs . Trans Union, L .L .C . , 273 F .Supp . 2d

725 (E .D . Va . 2003) ;   Gordon vs . Greenpoint Credit , 266 F .Supp .

2d 1007 (S .D . Iowa 2003) .

          The lender's motion says neither in its brief nor in its

allegations of undisputed facts that there is an absence of mal-

ice nor that malice is even an issue . The word is mentioned not

once .

          [A] party seeking summary judgment always bears the
          initial responsibility of informing the district
          court of the basis for its motion, and identifying
          those portions of 'the pleadings, depositions, an-
          swers to interrogatories, and admissions on file,
          together with the affidavits, if any,' which it be-
          lieves demonstrate the absence of a genuine issue
          of material fact .

Celotex Corp .    vs . Catrett , 477 U .S . 317, 323, 106 S .Ct . 2548,

2554, 91 L .Ed . 2d 265, 273 (1986 ) ( emphasis supplied ) .

          Upon any motion for summary judgment pursuant to
          Rule 56 of the Federal Rules of Civil Procedure, in
          addition to the brief, there shall be annexed to
          the motion a separate, short, and concise statement
          of the material facts as to which it is contende d




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         there exists no genuine issue to be tried as well as
         any conclusions of law thereof .

LR 56 .1 .

         CitiFinancial neither informs the Court that malice is an

issue nor alleges undisputed material facts from which absence

of malice could be concluded .      Celotex ,   id .       Based on this, the

Court need not even reach the issue of the presence or the ab-

sence of malice . If so, the inquiry stops here .

         If the inquiry proceeds, we must look for the definition

applicable in this context . What is "malice" ?

         One circuit court of appeals applies the state law stan-

dard . Another applies federal common law .

                                                       *

         The Fourth Circuit Court of Appeals applies state defama-

tion law for a definition of "malice" .         Beattie vs . Nationscred-

it Financial Services Corp . , 65 Fed . Appx . 893, 2003 WL 21213703

(4th Cir . 2003) .

         Under Georgia law, malice is presumed or "inferred" . OF-

FICIAL CODE OF GA . ANN . §51-5-5 ;    Straw vs . Chase Revel, Inc . ,

813 F .2d 356 (11th Cir . 1987) ;   Holmes vs . Clisby , 121 Ga . 241,

48 S .E . 934 (1904) ;   Montgomery vs . Pacific and Southern Co . , 131

Ga . App . 712, 206 S .E . 2d 631 (1974) ;   Southland Publishing Co .

vs . Sewell , 111 Ga . App . 803, 143 S .E . 2d 428 (1965) .

         The lender published to the credit-reporting agency that

the repossession from Ms . Eden had been involuntary . This is

not true . Under Georgia law, malice in inferred .




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        The Eighth Circuit Court of Appeals borrowed the defini-

tion of "malice" from Constitutional law .

        While the Act itself does not define these terms,
        the Supreme Court in New York Times vs . Sullivan ,
        376 U .S . 254, 84 S .Ct . 710, 11 L .Ed . 2d 68 6
        (1964) did define the malice necessary to over-
        come a conditional privilege under the first
        amendment as "with knowledge that it was false or
        with reckless disregard of whether it was false
        or not ." Id . at 279-280, 84 S .Ct . at 726 . .
        We cite the New York Times standard as an example
        of a type of malice necessary to overcome a qual-
        ified privilege .

Thornton vs . Equifax, Inc . , 619 F .2d 700, 705 (8th Cir . 1980) .

        Is there evidence that the lender violated this standard ?

Did it know that the repossession from Ms . Eden had been volun-

tary or did it disregard that the repossession from Ms . Eden had

been voluntary when it published to Equifax Information Systems,

L .L .C . that the repossession had been involuntary? It had to

have . It executed the voluntary       repossession itself .

        The lender also published to Dynamic Recovery Services,

Inc . and to Commercial Recovery Systems, Inc . that Ms . Eden owed

it money and that her account was charged off or in default .

The potential federal law preemption based on malice or the ab-

sence thereof does not apply to those publications under any in-

terpretation of the facts because the preemption applies only to

"any consumer reporting agency, any user of information, or any

person who furnishes information to a consumer reporting agen-

cy" . 15 U .S .C .A . §1681h(e) .

        The publications to the debt collection agencies was out-

side the realm of credit-reporting .



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       These publications that Ms . Eden owed money and that her

account was charged off or was in default are not true as a mat-

ter of law . The lender had ten days from the date of the repos-

session to perfect its claim for a deficiency by sending her no-

tice by certified mail that it intended to claim a deficiency .

OFFICIAL CODE OF GA . ANN . §10-1-36 .

        The lender did not do so, so when Ms . Eden got out of bed

on the morning of December 14, 2003 she owed it, irrevocably and

by operation of law, nothing .

        Not only were the publications that Ms . Eden owed money

false, the lender knew them to be false, because it is charged

with knowledge of Georgia law . See, e .g .,     Holt vs . Internation-

al Indemnity Co . , 171 Ga . App . 817, 321 S .E . 2d 374 (1984) .

        These publications to the debt collection agencies are

themselves sufficient to support a cause of action for defama-

tion . "A libel is published as soon as it is communicated to

any person other than the party libeled ." OFFICIAL CODE OF GA .

ANN . §51-5-3 .

        Proof of special damages is not required, but the addi-

tion to Ms . Eden's credit history of the representation that the

repossession from her had been involuntary constitutes special

damage . A perso n

        in an economically precarious position may well suf-
        fer greater damages as a result of the issuance of a
        defamatory credit report than would a financially
        sound [entity] whose credit would not otherwise b e




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          open to question .

Grove vs . Dun & Bradstreet, Inc . , 438 F .2d 433, 439 (3rd Cir .

1971) .


E . Punitive Damages and Attorney's Fee s

          The lender's only argument about punitive damages and at-

torney's fees is that the underlying substantive causes of act-

ion will each fail, so these claims for damages must fail, as

well .

          The Court is not required to consider any further argum-

ent or theory . Celotex Corp .       vs . Catrett, 477 U .S . 317, 106

S .Ct . 2548, 91 L .Ed . 2d 265 (1986) ; LR 56 .1 .

          Even so, punitive damages may be recovere d

          in such tort actions in which it is proven by clear
          and convincing evidence that the defendant's act-
          ions showed willful misconduct, malice, fraud, wan-
          tonness, oppression, or that entire want of care
          which would raise the presumption of conscious in-
          difference to consequences .

OFFICIAL CODE OF GA . ANN . §51-12-5 .1(b) .

          Even a negligently-published defamation will support pun-

itive damages if the initial defamation is repeated .            Southern

Bell Telephone and Telegraph Co . vs . Coastal Transmission Serv-

ice, Inc . , 167 Ga . App . 611, 307 S .E . 2d 83 (1983) .

          The lender knowingly violated the Motor Vehicle Sales

Finance Act and the Uniform Commercial Code . It published that

the repossession from Ms . Eden had been involuntary, that she

owed it money, and that her account had been charged off or was

in default, each of which it knew, either actually or construct-



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ively by reason of being charged with knowledge of Georgia law,

to be false .

II . THE COUNTERCLAI M

        This response parallels that stated in Ms .                Eden's briefs

in support of her motio n for partial summary judgment .                   The is-

sue is identical .      Lack of notice precludes a deficiency claim .

         CitiFinancial did not notify Ms . Eden under the Motor Ve-

hicle Sales Finance Act that it intended to pursue a deficiency,

so "it shall not be entitled to recover a deficiency against the

buyer     .   ."   OFFICIAL CODE OF GA . ANN .       §10-1-36 .

         The lender ' s compliance with the notice requirement is "a

condition precedent to recovery ."             Doughty vs . Associates Com-

mercial Corp . ,    152 Ga .   App . 575 ,   263 S . E . 2d 493 (1979) .

         "OCGA §10-1 - 36 does specifically provide that a lack of

notice bars a recovery of a deficiency judgment ."                  This is "an

absolute bar" .      Bryant International ,        Inc . vs .   Crane , 188 Ga .

App . 736 ,   374 S . E . 2d 228, 229    ( 1988) ( emphasis original ) .



                                                    CA:a_~
                                                  Charles Brannon
                                                  Attorney for plaintiff
                                                    Lynette Ede n
                                                  State Bar of Georgia
                                                    Number 07745 0

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                IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF GEORGIA,
                        STATESBORO DIVISIO N

LYNETTE TANKERSLEY EDEN ,

     Plaintiff,

vs .      )        Case                No . CV605-04 3

CITIFINANCIAL AUTO,
LTD .,

     Defendant .



                         Certificate of Servic e

      I certify that I have today served the defendant CitiFinan-

 cial Auto, Ltd . with a copy of the attached by posting it with

 the United States Postal Service with adequate first class pos-

 tage thereon and addressed as follows :

     Mr . William Loeffler
     Troutman, Sanders, L .L .P .
     Suite 520 0
     Bank of America Plaz a
     600 Peachtree Street, N .E .
     Atlanta, Georgia   30308-227 6

 February 16, 2006




                                   Charles Brannon
                                   Attorney for plaintif f
                                     Lynette Ede n
                                   State Bar of Georgia Number 077450
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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF GEORGIA,
                         STATESBORO DIVISIO N

LYNETTE TANKERSLEY EDEN,

     Plaintiff,
                                   }
vs .        )      Case                   No . CV605-04 3

CITIFINANCIAL AUTO,
LTD .,

     Defendant .



                Affidavit of Lynette Tankersley Ede n

        Lynette Tankersley Eden appeared before the undersigned

notary public, who knows and can identify her, was sworn under

oath to speak the truth and gave the following testimony :

                                   1 .

        I am of legal age and otherwise competent to testify in a

court of law and testify entirely of my own personal knowledge .

                                   2 .

        I am the plaintiff in this civil action .

                                   3.

        The attached documents marked "P-6", "P-7", "P-8", and

"P-9" are copies of letters each of which was delivered to my

mailbox .

                                    4 .

        The attached document marked "P-10" is a copy of a lette r

mailed to CitiFinancial Auto, Ltd . A copy of "P-10" was hand-

delivered to me on February 8, 2005 .




                                 -18-
        Case 6:05-cv-00043-BAE Document 40 Filed 02/16/06 Page 19 of 42



                                     5.

          The attached document marked "P-11" is the Equifa x

credit-reporting agency file on me dated January 9, 2006 . I ran

this credit report on myself .

                                     6.

          I recently applied for a credit card with Chase Bank

U .S .A ., N .A .

                                     7.

          The attached document marked "P - 12" is a copy of a letter

which was delivered to my mailbox .

                                     8.

          I recently applied for a credit card with Discover Bank .

                                     9.

          The attached document marked "P-13 " is a copy of a letter

which was delivered to my mailbox .




          Sworn to and subscribed before me this        14Y~-j   day of

February, 2006 .




                                                 CHARLES BRANNO N
                                                 Notary Publi c
                                                 Bulloch County, Georgia
                                                 My commission expires
                                                 August 24, 2008 .
                            Case 6:05-cv-00043-BAE Document 40 Filed 02/16/06 Page 20 of 42
                                                                                        DYNAMIC RECOVERY Si DICES
                                                                                           2775 VILLA CREEK STE 29 0
                                                                                                 DALLAS, TEXAS 75234
                                                                                                     972-241-5611
                                                                                                    1-800 -886-808 8


   Account Number: 515211 0
                                                                                                                                                                          08109/2004
   *****AUTO**MIXED AADC 750 4 1 910
   LYNETTE EDEN 515211 0
   103 VALLEY RD APT 55
   STATESBORO, GA 3045 8-4763
   I ,1 11 1 11 1111 [get 1 I11 1 1 1 11 1I II t II1 I111 11I1 11 1 6 1 1 1111 1 1 1111111

                                                                                             IMPORTANT NOTICE
                                                                                              PLEASE RESPOND
                                                       08/09/2004
The listed creditor has referred your account to DYNAMIC RECOVERY SERVICES, INC. for handling. Upon receiving this
formal notice, demand is hereby served upon you for payment in the amount shown below. If you have any questions, call
1-800-886-8088 IMMEDIATELY.


   LYNETTE EDEN                                                                                                          Creditor's Statement
   103 VALLEY RD APT 55                                                                                    RE : ARCADIA DEFICIENCY PRIME
   STATESBORO , GA 30458-4763                                                                              ACCOUNT : 10713683010000000000
                                                                                                           CASE # : 515211 0
                                                                                                           BALANCE : $7,415 .73




                                                                           NOTICE
                               "This is an attempt to collect a debt. Any information obtained will be used for that purpose."
Unless you notify this office within 30 days after receiving this notice that you dispute the validity of the debt or any portion
thereof, this office will assume this debt is valid . If you notify this office in writing within 30 days from receiving this notice, this
office will obtain verification of the the debt or obtain a copy of a judgment and mail you a copy of such judgment or verification .
If you request from this office in writing within 30 days after receiving this notice, this office will provide you with the name and
address of the original creditor, if different from the current creditor . This is a communication from a debt collector.
PDl 0810912004 .
                                                      PLEASE DETACH AND RETURN THIS PORTION WITH PAYMENT


                                                                                                     Name :

                                                                                                    - Address :
    RE: ARCADIA DEFICIENCY PRIME
    TOTAL NOW DUE : $7,415 .73
    CASE # : 5152110
                                                                                                     Telephone: (



   LYNETTEEDEN 5152110                                                                                    DYNAMIC RECOVERY SERVICES, INC .
   103 VALLEY RD APT 55                                                                                   P.O . BOX 81580 8
   STATESBORO, GA 30458-4763                                                                              DALLAS, TX 75381-5808
                                                                                                          11 111111 111111111 111 11111111 1111111 111 oil 11#1111111 1
    PDI (08/09/2004)
                      Case 6:05-cv-00043-BAE Document 40 Filed 02/16/06 Page 21 of 42
                                                                 DYNAMIC RECOVERY SER% ES
                                                                    2775 VILLA CREEK STE 290
                                                                               DALLAS, TEXAS 75234
                                                                                   972-241-5611
                                                                                  1-800-886-808 8


    Account Number : 515211 0
                                                                                                                                                  10/05/200 4
    ***AIJTO**ALL FORAADC 320 7 1 1,188
    LYNETTE EDEN 515211 0
    103 VALLEY RD APT 55
    STATESBORO , GA 3045 8-4763


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                                                                                                           P
RE : ARCADIA DEFICIENCY PRIME
CASE # : 515211 0
BALANCE OWING : $7,415 .73

DEAR LYNETTE EDEN,

Your account with the above referenced creditor is considered "Charged Off' or in "Default" . In reviewing the records of your
account, it has been determined that you are unable to pay your account in full as you would desire .

We would like to inform you that you have been approved for an opportunity to "Settle and Pay Off' your account for a great deal
less that you actually owe! You may save Hundreds and possibly Thousands of dollars! Take full advantage of this
opportunity now!

However, to participate in this special program you must reply to this office within the next 21 days . Call 1-800-886-8088 and
ask for Operator 100 now! For more details and personal assistance , call now! Don't pass up this tremendous opportunity!

Respectfully ,


         P,         %y

NOTICE : This is an attempt to collect a debt. Any information obtained will be used for that purpose . This is a communication
from a debt collector .

 S-1 10/05/2004

                                            PLEASE DETACH AND RETURN THIS PORTION WITH PAYMENT


                                                                                      Name :

                                                                                      Address :

        RE : ARCADIA DEFICIENCY PRIME
        TOTAL NOW DUE: $7,415 .73
        CASE # : 5152110
                                                                                      Telephone: (



     LYNETTE EDEN 5152110 DYNAMIC RECOVERY SERVICES, INC .
     103 VALLEY RD APT 55 P .O . BOX 81580 8
     STATESBORO, GA 304584763 DALLAS, TX 75381-580 8
                                                                                           III,.11I1I1u11 .I11I1u~II .I .I1I1,I1IIn1I11I,.I1I,I
     S-1 (10/05/2004)
   8035 East RL.Case  6:05-cv-00043-BAE Document 40 Filed 02/16/06 Page 22 of 42
                 Thornton                                                                                           ~     y


   Suite 220
   Dallas, TX 75228-7005                                                        Urgent G`= nmunicatio n
   Address Service Requested

   February 16, 200 5

                                                                                COMMERCIAL RECOVERY SYSTEMS, IN(
                                                                       8035 East RL Thorton, Suite 220
    PERSONAL & CONFIDENTIAL
    Lynette Ede n                                             2044355 P.O. Box 570909
                                                                       Dallas, TX 75357-0909
    103 Valley Rd Apt 55                                               (800) 214-7801
    Statesboro, GA 30458-4763                                          (214) 324-957 5
    111l11I1111IlIIIII111I11IuJIIIII uh',l11111111I11IIIIuIII11111     Fours: M - F Sam-5pm, CST

                                                                                          ACCOUNT IDENTIFICATION
                                                                                          RE: Arcadia Financial Ltd
                                                                                          Account #         : 2044355
                                                                                          Balance Owing     : $7787.59
    Your account, as detailed above, has been assigned to COMMERCIAL RECOVERY SYSTEMS for collection. I
    suggest that you consult with your attorney about what the laws in your state will allow our client to do to recover
    the monies owed to it and the further consequences of nonpaymen t
    Unless you notify this office within 30 days after receiving this notice that you dispute the validity of this debt or
    any portion thereof, this office will assur ne this debt is valid If you notify this office in writing within 30 days
    from receiving this notice, this office will, obtain verification of the debt or obtain a copy of a judgment and mail
    you a copy of such judgment or verification If you request this office in writing within 30 days after receiving this
    notice, this office will provide you with the name and address of the original creditor, if different from the current
    creditor. This is an attempt to collect a debt and any information obtained will be used for that purpose .
    Important information is found on the back of this notice.
    If this debt is not a valid debt of yours or if the account is included in a bankruptcy proceeding, then this notice, and
    all future notices, are null and void and you should notify us in writin g
    4urao 'W4e,& 1- Boa- Pro- 7 66
    To credit your account properly, you must include your account # on all checks and correspondence.
                                                    This communication is from a debt collector .
                   This is an attempt to collect a debt Any information obtained will be used for this purpose .
----------------------------------- Detach and Return with Payment-----------------------------------
                    Return this portion of the notice with your payment to expedite credit to your accoun t

 Account #:        2044355             Client # :               000    f   Balance Due: $7787 .59             Amount Enclosed:   $
                                              Enter the requested information in the spaces provided below.

    From Lynette Eden Employer.
    Change of Address :               Address:
    City, State, Zip: City, State, Zip:

    Telephone.             Telephone                                                                              Ext


                                                             2044355-240
         COMMERCIAL RECOVERY SYSTEMS, INC.
         P.O. Box 570909
         Dallas, TX 75357-090 9
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                                                                                                              g
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                      Case 6:05-cv-00043-BAE Document 40 Filed 02/16/06 Page 23 of 42
                                                                               Urgent G- . nmunicatio n

   March 19, 2005

                                                                                COMMERCIAL RECOVERY SYSTEMS, INi
                                                                                8035 East RL . Thorton, Suite 220
   PERSONAL & CONFIDENTIAL
                                                                                P.O. Box 570909
   Lynette Eden .                                        204435 5
                                                                                Dallas, TX 75357-0909
   103 Valley Rd Apt 55
                                                                                (800) 214-7801
   Statesboro, GA 30458-4763                                                    (214) 324-9575
   Inlldlu!!Iltllllllltlliiliulliultllttltlltlltlltltlllltnl                    Hours : M - F Sam 5pm, CS T

                                                                                          ACCOUNT IDENTIFICATION
                                                                                          RE: Arcadia Financial Ltd
                                                                                          Balance Owing        $7787.59
                                                                                          Account #         : 2044355
   We suggest that you consult with your attorney about what the laws in your state will allow our client to do to
   recover the monies owed to it and the further consequences of nonpayment

    If you wish to resolve this matter now, mail the above stated balance in the enclosed envelope or call me to discuss
    repayment of this debt

    Yours Truly,                                                      BEGINNING BALANCE                       : $7787.59
                                                                      TOTAL PAID TO DATE                      : $0.0 0
                                                                      AMOUNT OF LAST PAYMENT                  : $0.00
    /1C44oo ` al f c P 100- 214- 7966                                 DATE OF LAST PAYMENT

    To credit your account properly, you must include your account # on all checks and correspondence .

                                           This communication is from a debt collector .
                   This is an attempt to collect a debt Any information obtained will be used for this purpose .




--------------- ---------------- -DetachandReturnwithPayment-----------------------------------
                   Return this portion of the notice with your payment to expedite credit to your accoun t
Account # :        2044355            Client # :     t Afl2000 Balance Due : $7787.59                        Amount Enclosed:
                                             Enter the requested information in the spaces provided below.

    From Lynette Eden Employer.

    Change of Address :              Address:
    City, S Late, Zip : City, State, Zip:

    Telephone:              Telephone                                                                          Ex t


                                                               2044355 - 240
        COMMERCIAL RECOVERY SYSTEMS, INC .
        P.O. Box 570909
        Dallas, TX 75357-0909
                                                                                                     P- 9
        Ilntlilflntllttltlllnlll I! ssltl~tllt!!Illnllenlilinlltll

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       Case 6:05-cv-00043-BAE Document 40 Filed 02/16/06 Page 24 of 42




                                    103 Valley Road, Unit 31
                                    Statesboro, Georgia 30458-4759
                                    February 8, 200 5

Mr . Steven Caldis
Arcadia Financial, Ltd .
P .O . Box 110 0
Minneapolis , Minnesota 55440-110 0



Re :   L . Eden vs . Arcadia Financial, Ltd .
       Your Account Number 107136830 1


Dear Mr . Caldis :

     Arcadia Financial , Ltd . has not responded to any of my
three previous letters dated June 30, 2004 , July 8 , 2004 and
September 4, 2004 . What is going on? I believe that you ought
to give this file a look .

     The violation by Arcadia Financial , Ltd . of the Georgia
Motor Vehicle Sales Finance Act of 1967 precludes it from recov-
ery on any deficiency claim . It owes Ms . Eden $ 8,329 .18 for its
violation of Official Code of Georgia Annotated §10-1-38 ( c), the
Georgia Motor Vehicle Sales Finance Act of 1967, $5,441 .65 for
its violation of official Code of Georgia Annotated § 11-9-625(c)(2),
the Uniform Commercial Code, and $1,000 .00 for i ts violation o f
15 United States Code §1692k ( a)(2), the federal Fair Debt Col-
lection Practices Act .

     The earliest applicable statute of limitation is that of
the Fair Debt Collection Practices Act . It is a limitation of
one year . That limitation will soon become a factor . I plan to
refrain from taking any further action on Ms . Eden ' s behalf
until at least February 18, 2005, but plan to act to protect Ms .
Eden's interests after that time . I believe that you should
refer this to your claims department or legal department or to
someone familiar with Georgia law .

     Please understand that this letter is written only to give
you an opportunity to address these claims and is not intended
to be a complete statement of Ms . Eden's actionable claim s




                              PiO .p.!
     Case 6:05-cv-00043-BAE Document 40 Filed 02/16/06 Page 25 of 42




against Arcadia Financial, Ltd .

                                 Respectfully yours ,




                                 Charles W . Brannon, Jr .
                                 State Bar of Georgia Number 07745 0



cc : Ms . Lynette Tankersley Eden
     Dynamic Recovery Services, Inc .




                            P.     io.p. 2~
                             Case 6:05-cv-00043-BAE Document 40 Filed 02/16/06 Page 26 of 42

           P O 740256
           Atlanta GA 30348
                                                                                                                                   January 9, 230- 3


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                                                                                                                   To Start An Investigator i, Please 'J :,it Us At
                                                                                                                   www.investigate .equifa),. cor n

            II   II 1 5111111111 1 kill 11 1111111111111 1 111 11111 11111 111 161 hill I I I
    2--- 000531131-2167
    ffm Lynette T Eden
            103 Valley Rd Apt 5 5
    -`~ Statesboro, GA 30458-476 3




Dear Lynette T Eden :
Thank you for requesting your credit file, commonly called a Consumer Credit Report . Your credit file cc ni,.rir, s
information received primarily from companies which have granted you credit and from public rec ord soun .es . Great
care has been taken to report this information correctly . Please help us in achieving even greater accu ral ::y oy
reviewing all of the enclosed material carefully .
To allow us to protect your privacy and deliver prompt service, please have your confirmation nurnbe r acce ssi1Je
when you call or visit our web site . If there are items you believe to be incorrect, you may be able to niliaWE ;in
investigation request via the Internet 24 hours a day, 7 days a week a t
        www. i nvestigate.eq uifax .com
Using the Internet to initiate an on-line investigation request will expedite the resolution of your concE m > .
Or you may complete the enclosed Research Request Form and return it to :
        Equifax Information Services LLC
        P 0 740256
        Atlanta GA 3034 8

NOTE: Sending the Research Request Form to any other address will delay the processing of your,,egcrest
Under the FACT Act , you have the right to request and obtain a copy of your credit score . To obtain a copy of
your c redit score , please call our automated ordering system at- 1-877-SCORE-1 1 .

                     The FBI Has Named Identity Theft As The Fastest G rowing Crime In Ameril a
     Protect yourself with Equifax Credit Watch-'m , a service that monitors your credit file every basin -s:; &~:y and
     notifies you within 24 hours of any activity . To order, go to : www.credifwatch.e uifax.com




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Case 6:05-cv-00043-BAE Document 40 Filed 02/16/06 Page 27 of 42




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                            Page 2 .of 14     6009008435005-000531131-2167-5846 -1
                                               Case 6:05-cv-00043-BAE Document 40 Filed 02/16/06 Page 28 of 42

EgUIE4X
CREDIT FILE : January 9, 2006                                                                                                                  Confirmation # 6009008435
                                                                                                                    Please address all future correspondence to :

                                                                                                                                www . investigate .equifax .com
                                                                                                                    A
Name On File :           Lynette T Ede n                                                                                         Equifax Information Services LLC
                         XXX-XX-XXXX Date of Birth : November 3, 195 4                                                           P O 74025 6
Social Security #
Current Address :        103 Valley Rd Apt 55, Statesboro, GA 30458 Reported : 06/2003                              q~v          Atlanta GA 3034 8
Previous Address(es) :   PO Box 756, Brooklet, GA 30415 Reported : 01/200 3                                                      Phone : (800) 920-740 1
                      294 Mimosa St, Richmond Hill, GA 31324 Reported : 04/1996
                                                                                                                                 M - F 9 :00am to 5 :00pm in your time zone .
Last Reported Employment : Secretary ; American Star NAILS ; Richmond GA;
Previous Employment(s) : Kays Power & Equ ;                                                                         In order to speak with a Customer Service Representative regarding the
                            Exec Asst American Star N ;                                                             specific information contained in this credit file, you must call WITHIN 60
                                                                                                                    DAYS of the date of this credit file AND have a copy of this credit file
                                                                                                                    along with the confirmation number .


                                                                                                                                                                                        ;
Credit Bureau Associates ; Collection Reported 0512004 ; Assigned 10/2003 ; Client - Doctors Laboratory; Amount - $71 ; Status as of 0512004 - Unpaid ; Date of 1st Delinquency 01/2003
Balance as of 05/2004 - $71 ; Individual Account ; Account # - 165478 ; ADDITIONAL    INFORMATION     - Customer Has Now   Located  Consumer ; Address  : 120 N  Patterson St Valdosta
GA 31 601-551 6 :(229) 244-9000
Credit Bureau Associates; Collection Reported 05/2004 ; Assigned 08/2003 ; Client- Doctors Laboratory; Amount - $66 ; Status as of 05/2004 - Unpaid ; Date of 1st Delinquency 10/2002 ;
Balance as of 05/2004 : $66 ; Individual Account ; Account # - 150886 ; ADDITIONAL INFORMATION - Customer Has Now Located Consumer ; Address : 120 N Patterson St Valdosta
GA 31601-5516 : (229) 244-900 0
                                                                                                                                                                                          ;
Credit Bureau Associates ; Collection Reported 05/2004 ; Assigned 08/2003 ; Client - Doctors Laboratory ; Amount - $28 ; Status as of 05/2004 - Unpaid ; Date of 1st Delinquency 10/2002
Balance as of 05/2004 - $28 ; Individual Account ; Account # - 150885 ; ADDITIONAL INFORMATION - Customer Has Now Located Consumer ; Address : 120 N Patterson St Valdosta
GA 31601 -5516 : (229) 244-900 0
Lanier Collection Agency ; Collection Reported ; Assigned 03/2002 ; Client - St Joseph S Hos ; Amount - $800 ; Status as of 09/2002 - Paid ; Balance as of 09/2002 - $0 ;Individual Account ;
Account # - 2053566 ; Address : PO Box 15519 Savannah GA 31416-2219 : (912) 355-6666




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( Continued On Next Page) Page 3 of 14 6009008435005-000531131- 2167 - 5846 - BS
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  Account Column Title Descriptions:
     Account Number - The Account number reported by credit grantor                      Amount Past Due - The Amount Past Due as of the Date Reported
   Date Acct. Opened - The Date that the credit grantor opened the account            Date of Last Paymnt - The Date of Last Paymen t
            High Credit - The Highest Amount Charged                                       Actual Pay Amt - The Actual Amount of Last Payment
            Credit Limit - The Highest Amount Permitte d                                   Sched Pay Amt - The Requested Amount of Last Payment
       Terms Duration - The Number of Installments or Payments                         Date of Last Actvty - The Date of the Last Account Activit y
    Terms Frequency - The Scheduled Time Between Payments                              Date Maj Delqq Rpptd - The Date the 1st Major Delinquency Was Reported
    Months Reviewed - The Number of Mon ths Reviewed                                       Charge Off Amt - The Amount Charged Off by Credito r
   Activity Description - The Most Recent Account Activit y                             Deferred Pay Date - The 1st Payment Due Date for Deferred Loans
        Creditor Class - The Type of Company Reporting The Account                        Balloon Pay Amt - The Amount of Final( Balloon ) Payment
        Date Reported - The Month and Year of the Last Account Update                    Balloon Pay Date - The Date of Final(Balloon) Payment
     Balance Amount - The Total Amount Owed as of the Date Repo rte d                         Date Closed - The Date the Account was Close d
  Account History 1 : 30-59 Days Past Due                             5 :150-179 Days Past Du e                        J : Voluntary Surrender
                         2 : 60-89 Days Past Due                      6 : 180 or More Days Past Due                    K : Repossessio n
    Status Code          3 :90-119 Days Past Due                      G : Collection Accoun t                          L : Charge Off
    Descriptions         4 : 120- 1.49 Days Pa st Due                 H : Foreclosure
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Account Number Date Opened Hgh Credit
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Items As of Balance                                                                                   Amount                                                     Date of Actual            Scheduled       Date of                                                                                                                                                               Date Mai .      Charge Oft                                                                            Deferred Pay Balloon Pay
Date Reported Amount                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Balloon    Date
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12/2005 $0                                                                                                                                                      02/2002 02/200 2
Current Status - Pays As Agreed ; Type of Account - Revolving ; Type of Loan - Check Credit /Line Of Credit; Whose Account - Individual Account ;

Account Number Date Opened high
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-00141438901933` 04/1990 $7 5                                                                                                                                                                                                                                                                                                                                                                                                                               1 Paid and Closed
Items As of Balance     Amount        Clete of Actu al
Data Reported Amount Past Due Lest Paymnt Paymnt Am oun t
                                                                                                                                                                                                                                                                        Scheduled Date of Da te Mel.              Charge Off
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10/2004 $0 02/2003                                                                          02/2003                                                                   08/2004
Current Status - Pays As Agreed ; Type of Account - Open ; Type of Loan - Credit Card ; Whose Account - Individual Account; ADDITIONAL INFORMATION - Account Closed A t
Consumers Request;
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Account Number Date Opened    ligh credit
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-00141438901953*     04/1990 $319                                                                                                                                                                                                                                                                                                                                                                                                                          1
Items As of Balance Amount Date of Actual Scheduled Date of Date Mai ,                          Charge Off Deferred Pay Balloon Pay Ba lloon Date
Date Reported Amount Past Due L ast Paymnt Payrnnt Amount Paymnt Amount Leaf Activity Del, 1 s1 ApId Amount St ar t Data Amount Pay Date posed
07/2003                         $0               02/200 3
Current         Status - Pays As Agreed ; Type of Account - Revolving ; Type of Loan - Credit Card : Whose Account - Individual Account ; ADDITIONAL INFORMATION - Credit Card ;
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Account Num ber Date Opened ligh Credit           ~ Gadit Limit Terms tArraEcn r  Terms Frequency Mnths Revd Activity Descrip tion                                                                                                                                                                                                                                                                                                                                                                                                                                             Creditor Clasifioaticn
442710000542" 0211999                                                                                                                                                       $8,500                                                                                                                                                                                                                                                                       41
Items As of Balance Amount Da te of Actual Scheduled Da te of Date Mel . Charge Off                                                                                                                                                                                                                                                                                                                                                                                                  Deferred Pay Balloon Pay                                                                                      Balloon                                        Date
Date Repor ted Amount Past Due Last Paymni Paymnt Am ount Paymnt Amount Last Activity Del. tst Fotd Amount                                                                                                                                                                                                                                                                                                                                                                           Start Data Amount                                                                                             Pay Date                                      Closed
07/2002                                                                                                                                                $0                                                    0512000
Current Status - Pays As Agreed ; Type of Account - Revolving ; Whose Account - Individual Account ; ADDITIONAL INFORMATION - Account Closed by Consumer ; Account Paid/Zero
Balance ;

( Continued On Next Page) Page 4 of 14 6009008435005-000531131- 2167 - 5846 - BS
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   CREDIT FILE : January 9, 2006                                                                                                                                                                                                                                                                                                                            Confirmation # 6009008435
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                                                                                                              Date Opened High Credit Credit Limit                                                                               Terms Duration Terms Frequenc y                                              Mnths Revd             Activity Description                                            Creditor Clasifl oation
Account Numbe r
113538*                                                                                                       11/2002                                $560                 $1,500                                                                                                                                   29                Closed
                                                                                                                                                                                                                                                Date of                 Date Maj.              Marge Ott                             Deferred Pay                    Ball oon Pay                              Bal loon                       Date
Items As of     Balance                                                                 Amount                                        Date of Actual Scheduled
                                                                                                                                                                                                                                                                        Del. tst Flptd         Amount                                Start Date                      Amount                                    Pay Data                       Close d
Date Repor ted Amount                                                                   Past Due                                      Last Paymnt Paymnt Amount Paymni Amoun t                                                                  Last Activity
0520 0 5        $0                                                                                                                   021200 5                                                                                                   021200 5
Current Status - Pays As Agreed ; Type of Account - Revolving ; Type of Loan - Charge Account; Whose Account - Individual Account; ADDITIONAL INFORMATION - Account Closed by
Consumer ;                                                                                                                                     n r, ; r' y ,pF E ,
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Account Number Date Opened Filth Credit Credit Limit Terms Duration Terms Frequency Mnths Revd Activity Description Creditor Clasifioetio n

430572213638' 02/2002                                                                                                                                $9,322                                                                                                     Monthly                                            41 Paid and Close d
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Items As of Balance Amount Date of Actual Scheduled Dale of Date Maj .                                Charge Ott
                                                                                     Del . 1 9t Fptd Amount                                                                                                                                                                                                                          Start Date Amount                                                         Pay Date Closed
Data Reported Amount Past Due Last Paymnt Paymnt Amount Payymnt Amount Last Activity
07/2005 $0 05/2005 05/200 5                                                                                                                                                   0712005
Current Status - Pays As Agreed ; Type of Account - Revolving ; Type of Loan - Credit Card ; Whose Account - Individual Account ; ADDITIONAL INFORMATION        - Account Closed     At
Consumers Request ;                                                                                                                                 "}Y.. .. 'i}SFr a{ff is -r'l:iX'    ,+.a
                     fl "fr 415 .39                                          If { CF "              ::'T R Y                  k              5                     ?FGFY"t'2F ],Ef'. .t}f'Y rff~'•Y.if                                                                                           91., 0LM                                                                                            ': .~rE~n r . fl       . I
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Account Number Date Opened ligh Credit Credi t Limit                                                                                                                                                                              Terms Duration                Terms Frequency Mnths Revd Activity Descriptio n
512107180246*                                                                                                 02/1999                                                 $8,900                                                                                                                                       81
                                                                                                                                                                                                                                                                        Date Maj .             Charge Oft                            Deferred Pay Balloon Pay                                                  Balloon Date
Items As of Balance         Amount Date of Actual Scheduled Data of
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Date Rep orted Amount Past Due Last Payymnt Paymnt Amount Paymnt Amount Last Activit y                                                                                                                                                                                  Del . lst Rptd         Amoun t                               Start Date
12/2005 $0 02/2002 12/2005
Current Status - Pavs As Agreed : Tvpe of Account - Revolving ; Type of Loan - Credit. Card ; Whose Account - Individual                                Account ;
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 Account Number                                                          _                                         Date Opened l4gh Credit                                                Credit Limit
 107136'                                                   03/2002                                                     $11,789                                                                                                     60 Mon th s                  Monthly                                               5
                                                                                                                                                                                                                                                                                                                                      Deferred Pay Ba lloon Pay                                                 Balloon Date
 Items As of B alance Amount Date of Actual Schedu le d Date of Date Maj. d                                                                                                                                                                                                                    Charge Ott
                                                                                                                                                                                                                                                                                               Amount                                 Start Date Amount                                                         Pay Date  Closed
 Dale Repor ted Amount Past Due Last Paymnt Paymnt Amount Paymnt Amount Last Ac tivity Def. 1st Fpt
 11/2005 $ 0                                1012003 - $255 07/2003 12/200 3
 Current Status -Repossession ; Type of Account - Installment ; Type of Loan - Auto ; Whose Account - Joint Account ; ADDITIONAL INFORMATION - Involuntary Repossession ;
 Account History 11/2003 1012003 09/2003 08/2003 0612003
 with Status Codes 3 2 2 1                           1
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 Auooun I. Number                                                                                                  Date Opened High Credit Credit Limit                                                                           Terms Durati on               Terms Frequency
 452870'                                                                                                           08/2002 $825                                                                                                                                                                                       8
                                                                                                          Date of Actual Scheduled Date of Date Maj .                      Charge Off                                                                                                                                                 Deterred Pay Balloon Pay Balloon Date
 Items As of Balance                                                                      Amount                                                                                                                                                                                                                                                Amount Pay Date dosed
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 04/2003 $0                                                                                 04/2003
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 Current Status - Pays As Agreed ; Type of Account - Revolving ; Whose Account - Individual Account ; ADDITIONAL INFORMATION - Account Closed At Consumers Request
 Paid/Zero Balance ;                                                                                                            lu`+i4'           .`~,~;!v''fy',hrprt;'(4±%:}r:,:F.;e~s ?b7eF: :72a'3i:rlYr~r: :r~am%"r~,:.o-.
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 Account Number                                                                                                    Date Opened
 -279703„                                                                                                          09/1994 $96                                                                                                                                   Mouthy                                             99 Paid and Closed
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   I G1GVUD                            Z6U
                                                                                                               - individual Account ADDITIONAL INFORMATION - Account Closed At
  Current Status - Pays As Agreed : Type of Account - Revoiving : Type of Loan -Charge Account : Whose Account
  Consumers Request;

  (Continued On Next Page)                                                                                                                                                                                                        Page 5 of 14 6009008435005-000531131- 2167 - 5846 - BS
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Account Number Date Opened                                           No Credit                           Credit Limit Terms Duratio n                      Terms Frequen cy                  Mnhhs Revd Ac tivity Descrip tion                         Creditor Clarification
601859608304* 01/2003 $96 $600                                                                                                                             Monthl y                             35
Items As of Balance Amount Date of Actual Scheduled Date of Date M Charge Off Deferred Pay Balboa Pay Ba l oon Date
Date P, orted Amount Past Die Last Payment Paymnt Amount Paymnt Amount Last Activity Del. let id Amount Start Date Amount Pay Date Close d
12/2005 $0 12/2005 $49 121200 5
Current Status - Pays As Agreed ; Type of Account - Revolving ; Type of Loan - Charge Account ; Whose Account - Individual Account ;
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                      HD R                                                                                r~+.h                                                                                                                                                                Ilona
Account Number Date Opened                                           High Cre dit Credit Limit Terms Duration Terms Frequency Mnhs Revd Activity Descrip ti on                                                                                         Cr editor Claeifica ti on
19601-110970* 12/2001 $3,600                                                                                                                                                                     7
Items As of Balance Amount            Date of Actual Scheduled Date of Date M Charge            . Off Deferred Pay Saloon Pay                                                                                                                                      Ba lloon        Date
Date Reported Amount Past Due Lest Paymnt Paymnt Amount Paymnt Amount    Lest Activity Del. Iat   ffi Amount Start Date Amount                                                                                                                                     Pay Date        posed
07/2002                                                        $0                          0712002
Current Status - Pays As Agreed ; Type of Account - Revolving ; Whose Account - Individual Account ; ADDITIONAL INFORMATION - Charge ;
PERSON
Account Number                                       Date Opened Filth Credit Credit LMni t                                         Terms Duration Terms Frequency Mnhs Revd                                    Activity Description                   Creditor Ossificatio n
905641012614*                                        12/2001 $1,200                                                                                                                              4
Items As of Balance Amount Date                 Actual                        of Date Ma . Charge Off                                                                                                           Deferred Pay Balloon Pay                           Balloon         Date
Data Reported Amount Pest Due Last Paymntof Paymnt Amount Paymnt
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09/2003                       $0          01/2003                        01/2003
Current Status - Pays As Agreed ; Type of Account - Revolving ; Type of Loan - Charge Account ; Whose Account - Individual Account ;                                                                                                                                                           •

Account Numbe r                                      Date Opened     High Cre dit                        credit Limi t               T   me Duration       Terms Frequen cy                  Mnits Revd         Activity Description                   Creditor dasificatlo n
973050602"                                           01/200 3                                            $1100 0                                                                                34                                                                                             •
Items As of Balance                       Amount                Date of Actual                                       Scheduled                  Date of Date Ma . Charge Off                                    Deferred Pay Ball oon Pay                          Saloon          Date
Date Repor ted Amount                     Pest Due              Last Paymnt Paymnt Amount                            Paymnt Amount              Last Activity Del . I let f!♦ftd Amount                         Start Data Amoun t                                 Pay Data        Clo sed   nor&
12/2005 $0                                                      07/2003                                                        _                07/2003
Current Status - Pays As Agreed ; Type of Account - Revolving ; Type of Loan - Charge Account ; Whose Account - Individual Account ;

                                                     Date Opened figh Credit                             Cr edit LtMt Terms Duration Terms Frequency Mnhs Revd                                                                                         Cr editor Cleetloatto n
                                                     10/1992         $ 6,029 $5,700                                                                                                            72
Items As of   Balance Amount Date of Actu al Scheduled                      Date of Date Maj .         Charge Off                                                                                               Deferred Pay Balloon Pay                           Balloon         Date
Date Repor ted Amount Past We   Last Paymnt Paymnt Amount Paymnt Amount Lost Activity Del . l et Rptd Amount                                                                                                    Start Date Amount                                  Pay Date        Closed
12/2005 $2,260 11/2005 $56 12/200 5
Current Status - Pays As Agreed ; Type of Account - Revolving ; Type of Loan - Credit Card ; Whose Account - Individual Account;
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Account Numb er
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                            Date Opened Figh Credit Credit Limit Terms Drratkon
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                                                                                                        Terms Frequency           Mnth s Revd
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                                                                                                                                                                                                                Activity Description Creditor Clasificatto n
905641012614*               12/2001 $1,200                                                                                           16
Items As of Balance Amount Data of Actual Scheduled Date of                                                 Data Maj . Charge On                                                                                Deemed Pay Ba lloon Pay                            Saloon          Date
Date Reported Amount Peat Due Lest Paymnt Paymnt Amount Paymnt Amount                       Lest Activity   Dal . lot Rptd Amount                                                                               Start Da te Amount                                 Pay Date        acted
04/2003                           $0          01/2003
Current Status - Pays As Agreed ; Type of Account - Revolving ; Whose Account - Individual Account ; ADDITIONAL INFORMATION - Account Transferred or Sold ; Charge ;
                             a,,rylnrF+        ~i~~ 1)rd,'+~    Y rr¢ s
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Mount Number        Date Opened high cre dit                                                             Cr e dit Limi t             Terms Duratio n   Terms Frequency                       Mnhs Revd          Activity Descr iptio n                 Creditor claaitloatlon
CG 1 E8201-191 * 01/1995         $280                                                                                                                                                           23
Items As of Balance Amount Date of Actua l                                                                           Scheduled Date of Date Mal ,                  Charge Off                                   Deterred Pay Balloon Pay                       Saloon              Date
Date Reported Amou nt                     Past Due Lent Paymnt Paymnt Amount                                         Paymnt Amount Last Acti vi ty Def . let Rpt1 Amount                                        Slav Date Amoun t                              pay Date            dosed
12/1996 $0                                                                                                                                      0311996
Type of Account - Revolving ; Whose Account- Individual Account ; ADDITIONAL INFORMATION - Account Paid/Zero Balance ; Account Closed by Consumer ;



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  CREDIT FILE : January 9, 2006                                                                                                                                                                                                                                                                                                                  Confirmation # 6009008435
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Account Number Date Opened Figh Credit
203* 06/1998 $52,200                                                                                                                                                                                                                                                                                 52
                            Amount Date of Actual            Scheduled     Date of Date Maj . Charge Off                                                                                                                                                                                                                      Deferred Pay Balloon Pay                                                       Ball oon Date
Items As of    Balance                                                                                                                                                                                                                                                                                                                                                                                       Pay Date   Close d
                                                                                                                                                                                                                                                                                                                              Start Date Amount
Date Repor ted Amount Past Due Last Paymnt Paymnt Amount Paymnt Amount LostACeWty D el . istFto1d Amoun t
11,2002                                                                              $0                         $824                                              10/200 2
Current Status - Pays As Agreed ; Type of Account - Installment ; Whose Account - Individual Account ; ADDITIONAL INFORMATION Account Paid/Zero Balance ;                                                                                                                    ..   ;.                                     -                       i :' EF rJy{n::     ?::• •.         :q:;f .r::gvrR'rr .: !G!r.A'.I: ::iv~.'I-' :: ~'c.:~"n'r,'~ :~r '
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Account Number Date Opened                                                                                     Ftigh edit
3150000315020 *                                                                            0312002             $12,272                                                                 59 Months Mont                                                                                           44
                                                                                                                                      Scheduled Date of Rate Maj • Charge Ott                                                                                                                                                 Deterred Pay Balloon Pay                                                        Balloon Date
items As of Balance                                                       Amount                         Date of Actual
                                                                                                         Last Paymnt Paymnt Amount Paymnt Amount   Last Actvity Del. 1st Rptd Amount                                                                                                                                          Start Date Amoun t                                                              Pay Date Close d
 Date Reported Amount                                                     Past Due
11/2005 $3,450                               11/200 5 $1,520 $270 11/2005
Current Status - Pays As Agreed ; Type of Account - Installment ; Type of Loan - Auto ; Whose Account - Individual Account ;
Account Histo ry                                          10/2005 0912005 08!2005 1112004 10/2004 09/2004 1012003 09!2003 0712003 0512003 0312003 01/2003 0912002 08 12002 07/2002 0612002 05/2002 0412002
                                                             3 2 1 2 2 1 2 1 1 1 1 1 1 1 1 1 2                                                                                                        1
with Status Codes                                                                                                                                                                                                                                                                                                                                                                ,y
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Account Number Date Opened l4gh Credit                                                                                                               Gedn Limit i arms uurahwn r arms rrequenry mnu,s - e
585637048007*                                                                              02/1994 $88 1                                                                                                                                                                                             24
                                                                                                         Date of Actual                                                   Scheduled       Date of Date Mej, Charge O R                                                                                                        Deferred Pay Balloon Pay                                                        Balloon Date
Items As of Balance                                                       Amount
                                                                                                                                                                          Paymnt Amount LastAcYvity Del. tatRptd Amoun t                                                                                                      Start Date    Amount                                                            Pay Date Close d
Date Reported Amoun t                                                     Past Due                       Last Paymnt Paymnt Amount
02/2000 $0                                                                                 02/2000                                                                                                                                                                                                                                                                                                                                                                             r
Current Status - Pays As Agreed ; Type of Account - Revolving ; Whose Account - Individual Account; ADDITIONAL        - AccountClose d At Consumers Request ; Charge
                                                                                                                INFORMATION                                                                        ;
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                                                                                           Date Opened Fiigtt Credit Credit Limit Terms Duration                                                                                         Terms Frequen cy                                       Meths Revd Activity Description Creditor Claelfication
Account Number                                                                                                                                                                                                                                                                                                                                                                                                                                                               dens
585637048077*                                                                              1011994             $32 8
                                                                          Amount                         Date of Actual                                                   Scheduled                                     pate of Rate Ma. Char g e Off                                                                         Deferred Pay Below Pa y                                                         Moon L1809
Items As of Balance                                                                                                                                                                                                                                                                                                                                                                                           Pay Date                          Closed a
                                                                                                                                                                                                                                                                                                                                                                                                                                                       s
Date Reported Amoun t                                                     Past Due                       Last Paymnt Paymnt Amount                                        Paymnt Amount                                Last Activity              Del . tat Rptd Amount                                                       Start Date Amount

02/2000 $0                                                                                                                                                                                                             02/2000
Current Status - Pays As Agreed ; :Type of Account  - Revolving ; Whose Account - Individual Account ; ADDITIONAL INFORMATION - Account Closed At Consumers Request ; Charge ;                                                                                                                                                                                   r:Y               .A                          r
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                                                                                                                                                           Mnthe Ravd Activ ity Description                            Cr e d'
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Account Numbe r                                         Date Opened     Filth Credit Credit Limit Terms Dura ti on Terms Frequency

 10100000159*                                                                              0312002              $16,978                                                                                  60 Months                       Monthly                                                     36 Paid and Closed
                                                                                                         Date of Actua l                                                  Scheduled        Date of Date Maj. Charge Off                                                                                                       Deferred Pay Balloon Pay                                                        Balloon                           Date
 Items As of Balance Amount                                                                                                                                                                                                                                                                                                                                                                                   Pay Date                          closed
                                                                                                                                                                          Paymnt Amount LastAcbvity Del. tat Flptd Amount                                                                                                     Start Date Amoun t
Date Reported Amount Past Due Last Paymnt Paymnt Amount
03/2005 $0 03/2005 $465                                                                      03/2005                                                                                                                                                                                                                                                                                                                                            03/200 5
Current Status - Pays As Aareed : TvDe of Account - Installment ; Type of Loan - Auto : Whose Account - Individual Account ;                                                                                                                                                                         :      Sr.
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 Account Number                                                                            Date Opened High Credit Credit Limit Terms Dura tion Terms Frequency Mnihs Revd Actmy Description r edi tar Clas

 10100000060 *                                                                             0112000 $8,323                                                                                                                                                                                            26
                                                           Scheduled Date of Date M .                Charge Off                                                                                                                                                                                                               Deferred Pay Balloon Pay Balloon                                                                                  Date
 Items As of Balance Amount Date of Actual                                                                                                                                                                                                                                                                                                              Pay Date                                                                                Closed
                                                                       Last Activity Del. 1 st Rptd Amoun t                                                                                                                                                                                                                   Start Date Amount
 We Reported Amount Past Due Lost Paymnt Paymnt Amount Paymnt Am ount
 03/2002                                                                             $0                       $204                                           0112002
 Current Status - 30 .59 Days Past Due ; Type of Account- Installment; Whose Account- Individual Account ; ADDITIONAL INFORMATION - Closed Account ; Auto ;
 Account Histo ry 02!2002 011200 2
 with Status Codes 1 1



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Account Number                                                        LJm. upenec r+gn uremi                 Credit Limit               arms Direlon        erms Frequency            Mnths Reno    Activity Desori p                                                Creditor Claeifioutta n
32100001030'                                                         05/2000 $5,184                                                                                                     22
Items As of Balance                                Amount Date of                                Actual Scheduled Date of                                      Dens M Charge Oft                    Deferred Pay Balloon Pay                                                    Ball oon  Date
Date Reported Amoun t                              Past Due Last Paymnt                          Paymnt Amount Paymnt Amount Last Aclvit y                     Del. let Fpid Amount                 Start Oat
                                                                                                                                                                                                            . Am oun t                                                          Pay Date hosed
0312002 $0                                                                                                              $171 02/2002
Current Status - Pays As Agreed ; Type of Account - Installment; Whose Account - Individual Account; ADDITIONAL INFORMATION - Closed Account ; Auto ;
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Account Number                                                        Date opened          rigs Gent Credit Limit Terms Duration Terms Frequency                                   Mnths Revd      Activity Description                                              Creditor gasi fication
36226'                                                                12/1 994 $1,0 00                                                                                                  77
Items As of Balance Amount            Data of Actual Scheduled Data of - - --- - Date Maj .              Charge Off                                                                                Deferred Pay Balloon Pay                                                     Balloon    Date
Date Reported Amount Past Due Last Paymnt Paymnt Amount Paymnt Amount     Last Activity Del . t st Pptd Amount                                                                                     Start Date Amount                                                            Pay Date Closed
05/2001 $0 0512001
Current Status - Pays As Agreed ; Type of Account - Revolving; Whose Account - Individual Account; ADDITIONAL INFORMATION - Account Closed At Consumers Request ; Charge ;
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             i                                                   71KiWIP"                                                                                                                                                                                                                                        R;
   $
Account Number                                                       Date Opened I'tgh Credit                Credit Limit Terms Duration                arms Frequency             Mnths Revd      Activity Description                                             Creditor Clarifi cati on
89655'                                                               12/2001 $500                                                                                                       10
Items As of Balance                                Amount                  Date of               Actual                 Scheduled              Hate of Date Mai. Charge Off                        Deferred Pay                Balloon Pay                                     Balloon    Date
Date Reported Amoun t                              Past Due                        Last Paymnt   Paymnt Amount          Paymnt Amount          Last Aolvity Del. tst Fptt Amount                   Start Data                  Amoun t                                         Pay Date Close d
10/2002 $0                                                                                                                                     10/2002
Current Status - Pays As Agreed ; Type of Account - Revolving ; Whose Account- Individual Account ; ADDITIONAL INFORMATION - Charge ;



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First USA Ban k                                                                                                   11 !08,2005
Dept OHI-0552 At i :Cav 800 Brvoksedge Blvd 3 Westen+ille, OH
43081-2895
Commercial Recove ry Systems 02/15/2005
8035 E R L THORNTON FWY#2 DALLAS, TX 75728-7018 Phone: (214)
324-9575
Dynamic Recovery System s                                                                                         08/09/2004
2775 VILLA CREEK#290 DALLAS, TX 75234-7460
Citifinancial Auto                                                                                                03/18/2004
2208 Hwy 121 , Suite 100 2208 Kg`t way 121 Ste 100 Betafford, TX
76021-5981 Phone : (888) 776-3780




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                                                   Case 6:05-cv-00043-BAE Document 40 Filed 02/16/06 Page 34 of 42
 CREDIT FILE : January 9, 2006                                                                                                   Confirmation # 6009008435


 Company Information - Prefix Descriptions :
            PRM - Inquiries with this prefix indicate that only your name and address were given to a credit grantor so they can provide you a firm offer of credit or
                   insurance . (PRM inquiries remain for 24 months)
   AM, AR or PR - Inquiries with these prefixes indicate a periodic review of your credit history by one of your creditors . (AM, AR, and PR inquiries remain for 12
                   months)
   Equifax or EFX - Inquiries with these prefixes indicate Equifax's activity in response to your contact with us for a copy of your credit file or a research request .
               ND - Inquiries with this prefix are general inquiries that do not display to credit grantors . (ND inq uiries remain for 24 months)
                                                            .} n


Equifax                                                            01 /0912006 03/28 /2005
PO Box 740241 Atanta, GA 30374-0241
AIR-Gemb/Old Navy                                                  01 /02/2006 12/26/2005 12/19/2005 12/15/2005
Brands C1 1A PO Box 29116 Shawnee Mission , KS 66201-1416
Equifax Consumer Service s                                         12123/2005
1 600 Peachtree St NW Esecure Atlanta, GA 30309-2403
AR-American Express                                                12/21/2005 12/16/2005
PO BOX 7871 FT LAUDERDALE, FL 33329
PRM-Cingular Wireless                                              12/12/2005 08/10/2005 06114/2005 05/03/2005
13801 Wireless Way Oklahoma City, OK73134-2500
AR-MBNA America Na -                                               1128/200 6
655 PAPER MILL ROAD NEWARK, DE 19711                                                                                                                                       Min
PRM-Capital One                                                    11 /11/2005 07/1412005                                                                                  d%b

PO Box 85520 lntemai zip 12030-163 Rchmond, VA 23285-5520                                                                                                                   e
PRM-W&R Block MTGE Corp                                            10/31200 5
25519 Commereentre Dr Lake Forest CA 92630-8870
AR-Hsbc Saks                                                       10/12/2005
2700 Sanders Rd Prospect Heig'1ts, lL 60070-2701
AR-Ban k                                                           09/26/200 5
PRM-Capital One,tsb                                                09/14/2005 08/152005 06/13/2005 04/06/2005 03/102005 02/10/2005 01/12/2005
PO Box26030 Richmond, VA 23260-6030
PRM-MDA Capital, Inc .                                             0726/200 5
6036 Central Ave St Petersburg, FL 33707-1600
AR-Capital On e                                                    07/15/2005
PO Box 8552u 120:30-U163 1 ' chmona, VA 23285-5520
DDILA .L .h~ trLr
                - hill II( 8 HI.11)                                04/26/2005
2700 Sanders Rd Prospect Hei ots. IL 60070-2701
AR-Wachcv:a Bank . Na/Pt u                                         01/11/2005
an Rn v 6Fn7'6 rhpd. .fff Nr 9a 90Z9-n79 A
ND-Prcgrccsivc !^.-L-rancc""aa10::PROGRESSIV (PROGRESS             11 &" 1200
6300 Wilson Mills Rd aeveland, OH 4414S-2109

**** End of Credit File **** Page 9 of 14 6009008435005-000531131- 2167 - 5846 - BS
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Para informacion on espanol, visite www.ftc. ov/credit o escribe a la FTC Consumer
Response Center, Room 130-A 600 Pennsylvania Ave . N. W., Washington, D.C. 20580.
                 A Summary of Your Rights Under the Fair Credit Reporting Act
The federal Fair Credit Reporting Act (FCRA) promotes the accuracy, fairness, and privacy of
information in the files of consumer reporting agencies. There are many types of consumer
reporting agencies, including credit bureaus and specialty agencies (such as agencies that sell
information about check writing histories, medical records, and rental history records) . Here is a
summary of your major rights under the FCRA . For more information , including Information
about additional rights , go to www.ft,.gov/credit or write to : Consumer Response Center,
Room 130 -A, Federal Trade Commission, 600 Pennsylvania Ave. N.W., Washington, D .C.
20580.
o You must be told if information In your file has been used against you. Anyone who uses
  a credit report or another type of consumer report to deny your application for credit, insurance,
  or employment or to take another adverse action against you must tell you, and must give you
  the name, address, and phone number of the agency that provided the information .
10 You have the right to know what is in your file . You may request and obtain all the
   information abou you in the files of a consumer reporting agency (your "file disclosure") . You
   will be required to provide proper identification, which may include your Social Security
   number. in many cases, the disclosure will be free . You are entitled to a free file disclosure if :
   o a person has taken adverse action against you because of information in your credit report ;
   ° you are the victim of identify theft and place a . fraud alert in your file ;
     yourfile contains inaccurate information as a result of fraud ;
     you are on public assistance;
  ° you are unemployed but expect to apply for employment within 60 days .
  In addition, by September 2005 all consumers will be entitled to one free disclosure every 12
  months upon request from each nationwide credit bureau and from nationwide specialty
  consumer reporting agencies . See www .ftc .gov/credit for additional information .
  You have the right to ask for a credit score . Credit scores are numerical summaries of your
  credit-worthiness based on information from credit bureaus . You may request a credit score
  from consumer reporting agencies that create scores or distribute scores used in residential
  real property loans, but you will have to pay for it . In some mortgage transactions, you will
  receive credit score information for free from the mortgage lender .
o You have the right to dispute Incomplete or inaccurate information . If you identify
  information in your file that is incomplete or inaccurate, and report it to the consumer reporting
  agency, the agency must investigate unless your dispute is frivolous . See www.ftc .g6N~/credit for
  an explanation of dispute procedures .
° Consumer reporting agencies must correct or delete Inaccurate , Incomplete, or
  unverifiable Information . Inaccurate, incomplete or unverifiable information must be removed
  or corrected, usually within 30 days . However, a consumer reporting agency may continue to
  report information it has verified as accurate .




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° Consumer reporting agencies may not report outdated negative information . In most
  cases, a consumer reporting agency may not report negative information that is more than
  seven years old, or bankruptcies that are more than 10 years old .
0 Access to your flle is limited . A consumer reporting agency may provide information about
  you only to people with a valid need -- usually to consider an application with a creditor, insurer,
  employer, landlord, or other business . The FCRA specifies those with a valid need for access .
o You must give your consent for reports to be provided to employers. A consumer
  reporting agency may not give out information about you to your employer, or a potential
  employer, without your written consent given to the employer . Written consent generally is no t
   required in the trucking industry- For more information, go to www.ftc .gov/credit.
o You may limit " prescreened " offers of credit and insurance you get based on information
  in your credit report . Unsolicited "prescreened" offers for credit anrf insurance must include a
  toll-free phone number you can call if you choose to remove your name and address from the
  lists these offers are based on . You may opt-out with the nationwide credit bureaus at
  1-888-5-OPTOUT (1-888-567-8688) .
o You may seek damages from violators . If a consumer reporting agency, or, in some cases,
  a user of consumer reports or a furnisher of information to a consumer reporting agency
  violates the FCRA, you may be able to sue in state or federal court .
o Identity theft victims and active duty military personnel have additional rights . For more
   information, visit www.ftc.gov/credit.
States may enforce the FCRA , and many states have their own consumer reporting laws .
In some cases , you may have more rights under state law . For more information, contact
your state or local consumer protection agency or your state A ttorney General . Federal
enforcers are :
 TYPE OF BUSINESS ;                                                             CONTACT INFORMATION:
 Consumer reporting agencies, creditors and others not listed bebw              Federal Trade Commission: Consumer Response Center - FCR A
                                                                                Washington , DC 20580 1-877-382-4357

 National banks, federal branches/agencies of foreign banks                     Office of the Comptroller of the Currency
 (word 'National " or initials "N .A .' appear in or after banks name)          Compliance Management, Mail Stop 6-8
                                                                                Washington , DC 20219 800-613-6743
 Federal Reserve System member banks (except national banks, and                Federal Reserve Boar d
 federal branches/agencies of foreign banks)                                    Division of Consumer & Community Affairs
                                                                                Washington , DC 20551           202-452-3693
 Savings asso ciations and federally chartered savings banks (word              Office of Thrift Supervisio n
 'Federal' or initials ' F.S .B.' appear in federal institution 's name)        Consumer Complaints
                                                                                Washington, DC 20552            800-842-6929
 Federal credit unions (words 'Federal Credit Union' appear in                  National Credit Union Administratio n
 institution ' s name)                                                          1775 Duke Street
                                                                                Alexandria , VA 22314 703-518-6360
 State-chartered banks that are not members of the Federal Reserve              Federal Deposit Insurance Corporatio n
 System                                                                         Consumer Response Center, 2345 Grand Avenue, Suite 10 0
                                                                                Kansas City, Missouri 64108- 2638       1-877-275-3342
 Air, surface, or rail common carriers regulated by former Civil                Department of Transportation , Office of Financial Management
 Aeronautics Board or Interstate Commerce Commission                            Washington , DC 20590 202-366-1306
 Activities subject to the Packers and Stockyards Act, 1921                     Department of Agricu lture
                                                                                Office of Deputy Administrator - GIPS A
                                                                                Washington , DC 20250 202-720-705 1




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                                             Commonly Asked Questions About Credit Files
0. How can I correct a mistake in my credit #ie ?
A . Complete the Research Request form and give details of the information you believe is incorrect . We will then check with the credit grantor,
    collection agency or public record source to see if any error has been repo rted. Informati on th at cannot be verified will be removed from your
    file . If you and a credit grantor disagree on any information , you will need to resolve the dispute directl y with the credit grantor who is the source
    of the informati on in question .
0. Why doesn 't my credit information from Equffaxmatch that of Expenan and TransUnion ?
A . Credit information providers do not share your credit data with each other . As a result, updates made to your Equifax credit file may not be
     reflected on reports f rom Experi an and TransUnion. You will need to contact the other credit information services dire ctly to correct any
     inaccurate information . Contact information is provided below :
           Trans Union, PO Box 1000, Chester, PA 19022 Phone: (800) 888-4213
           Expertan, P.O. Box 9530 Allen, TX 75013 Phone : (888) 397-3742
0. HI do have credit proiifams, is there somepldce where Icon get advice and assistance ?
A. Yes, th ere are a number of organizations that offer assistance . For example , the Consumer Credit Counseling Se rvice (CCCS) is a non -profit
   organization that offers free or low-cost financial counseling to help people solve their financial problems. CCCS can help you analyze your
   situ ation and work with you to develop solutions . There are more than 600 CCCS offices th roughout the count ry. Call 1 (800) 388-2227 for the
   telephone number of the office nearest you.

                                                             Facts You Should Kno w
o Payment history on your cre dit file is supplied by credit grantors with whom you have credit . Th is in cl udes both open accounts and accounts that
   have already been clo sed. Payment in full does not remove your payment history. The length of ti me information remains in your credit file is
   shown belo w :
         Collection Accounts : Remain for 7 years .
          Credit Accounts:         Accoun ts paid as agreed remain for up to 10 years. Accounts not paid as agreed remain for 7 years .
          (The time periods listed above are measured from the date in your credit file shown in the 'date of last activity' field accompanying the
          particular credit or collection account )
          Pubic Records:           Remain for 7 years from the date filed, except:
                                   Bankruptcy- Chapters 7 and 11 remain 10 years from the data filed.
                                   Bankruptcy-Chapter 13 dismissed or no disposi tion rendered remain 10 years from the date filed
                                   Unpaid tax liens remain indefinitely .
                                   Paid tax liens remain for up to 7 years from the date released.
          New York State Residents Only. Satisfied judgments remain 5 years f ro m the date filed ; paid collections remain 5 years f ro m the "date of
                                         last a.civityf' .
          California State Residents Only. Unpaid tax liens remain 10 years from the d ate filed.

o Many companies market consumer products and services by mail . Millions of people take advantage of these direct marketing opportunities
   because it is a convenient way to shop . If you prefer to reduce the number of dire ct marketi ng mailings , you can write to : Direct Marketing
   Association, Mai Preference Service , P.O . Box 9008, Farmingdale , NY 11735-9008. To request that your name be re moved from Direct
   Marketing Association member lists, include your complete name , full address and signature .
o Name, address , and Social Security Number information may be provided to businesses that have a legitimate need to locate or identify a
   consumer.

  Notice: Dispute Review Process and Your Rights :
  Upon receipt of your dispute , we fi rst review and consider the relevant information you have submitted regarding the nature of your dispute . If that
  rev iew does not resolve your dispute and further investigation is re quired , notification of your dispute , including the relevant information you
  submitted , is provided to the source that furnished th e disputed information. The source reviews the information provided, conducts an
  investigati on with respect to the disputed information and reports the results back to us . Th e credit reporting agency then makes deletions, or
  changes to your credit file as app ro priate based on th e results of the reinvestigation. The name and address and, if reasonably available, the
  phone number of the fumisher(s) of infomation contacted while processing your dispute (s) is shown under th e "Results of Your Investigation'
  section .
  If you still disagree with an item after it has been verified , you may send to us a brief statement , not to exceed 100 words ( 200 words for Maine
  residents) explaining the nature of your disagreement . Your statement wi ll become part of your credit No and will be discl osed each time your
  credit file is accessed .
  If the reinvestigation re sults in a change to or deletion of th e information you are conce rned about, or you submit a statement in accordance with
  the preceding paragraph, you have the right to request that we send your revised credit file to any company th at received your credit file in th e
  past 6 months for any purpose (12 months for Califo rn ia, Co lo rado, Maryland, New Jersey and New York residents ) or in the past two years for
  employment purposes.




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EgUIFAX                                  RESEARCH REQUEST FORM
Upon completion please return this document to the Or, it you prefer , you may initiate an
following address:                                 Investigation request via the internet at :
    Equifax Information Services LLC www .investigate .equifax.co m
    P O 740256
   Atlanta GA 30348

                                            Confirmation Number: 6009008435
Inten ti onally making any false statement to a consumer reporting agency for the purpose of having it plated o n
consumer report is punishable by law In some states . To ensure that your request is processed accurately, please enlarge
photocopies of any items that contain small print ( ie. driver' s license, W2 Forms, etc .) ., Photocopies that are not legible o r
contain highlighti ng may cause us to request that you resubmit your requests for clarity .
      If your identifying Name : Lynette T Ede n                                                          SS#: XXX-XX-XXXX
  information differs from                                                                                DOB . Noveriber 3, 1954
 the information listed on
this form, please fill in the Current Address : 103 Valley Rd Apt 55, Statesboro, GA 30458
correct information in the
  space provided below Previous Address(es) : PO Box 756, Brooklet, GA 3041 5
       each item. 294 Mimosa St, Richmond Hill, GA 31324

    Please provide a
photocopy of your driver's Employment Exec Asst American Star N ; Kays Power & Equ ;
 license, social security
card, or a recent utility bill Daytime Phone Number
                                                      :                              Evening Phone Number :
  that reflects the correct
        information .          List other names which you have used for credit in the past .
For security purposes, if you want your credit report to display no more than the last 4 digits of your social security number
(check here) ❑
Collection Agency Informatio n
Collection Agency Name Account Numbe r
Reason for Inves tiga tion : ❑ Not Mine ❑ Collection Paid in Full                                ❑ Paid Before Collectioiz 3teitus
❑ Other ( Please explain )

Collection Agency Name Account Numbe r
Reason for investiga tion :    ❑ Not Mine              ❑ Collection Paid in Full                 ❑ Paid Before Collection Status
❑ Other ( Please explain)                                                                                                   _
Credit Account Information

Company Name Account Numbe r
Reason for investigation : © Not Mine ❑ Paid in Full ❑ Current/Previous Payment Status Incorrect                   ❑ Account Closed
❑ Other (Please explain )

Company Name Account Numbe r
Reason for inves ti ga tion : ❑ Not Mine ❑ Paid in Full ❑ Current/Previous Payment Status Incorrect 13 AccOL nt Closed
❑ Other                            (Please                                explain)                                    _

Company Name Account Numbe r
Reason for Investi gation : ❑ Not Mine       ❑ Paid in Full     ❑ Current/Previous Payment Status Incorrect        ❑ Account Closed
❑ Other (Please explain )

Company Name Account Numbe r
Reason for investiga tion : ❑ Not Mine       ❑ Paid in Full     ❑ Current/Previous Payment Status Incorrect 0 AccoL E,t Closed
❑ Other (Please explain)



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                               January 9, 2006
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                    Case 6:05-cv-00043-BAE Document 40 Filed 02/16/06 Page 40 of 42
              Chase Bank USA, N .A .
              P .O . Box 1507 7
              Wilmington, DE 19850-5077
                                                                                        CHASE Am p

                                                                                                         November 09, 200 5
              InII~II :~uIuIp1iI .I .j1nliiIIuiIiIIisuIIi.IsInIuhII . .J
              AAL 053109 0807Z4 004286 000 1

              LYNETTE T EDE N
              1 03 VALLEY RD APT 55
              STATESBORO GA 30458-4763




                                                                                  AR104




Dear LYN ETTE T EDEN :

At your request, we have completed a second review of your application for an AARP Credit Card account issued by Chase
Bank USA, N .A . . We regret that we are still unable to approve your request for the following reason(s) :

        Your credit report reflects a foreclosure or repossessio n
        Your credit repo rt reflects charge off(s) or bad debt collection(s)
        Your credit report reflects a judgment , tax lien, or public recor d

Our credit decision was based in whole or in part on information from Equifax, P 0 Box 740241, Atlanta, GA 30374-0241,
(900)685-tlll,http ://Nx,mv .credit .equifax .com. The reporting agency played no part in our decision (other than providing us
with credit information about you) and is unable to supply specific reasons why we have denied credit to you .

Under the Fair Credit Reporting Act, you have a right to know the information provided to us, and you also have a right to a
free copy of your report from the above reporting agency, if you request it from the reporting agency no later than 60 days after
you receive this notice by calling (800) 685-1111 or contacting the agency through their website http ://iNNvw .credit .equifax .com .
In addition, if you find any information contained in the report you receive from then : is inaccurate or incomplete, you have the
right to dispute the matter with the reporting agency .

We appreciate your interest in AARP Credit Card Services issued by Chase Bank USA, N .A . and we invite you to reapply if
your personal circumstances change or if you have additional information to provide to us .

If you have questions regarding this notice you should contact us at the address above .

Sincerely ,

AARP Credit Card Services
Chase Bank USA N .A .




                                                                 P1 Z
                            Please see the reverse side of this document for important i nformation
                                                                  41 of 42 R
                                                               DISCOVE
           Case 6:05-cv-00043-BAE Document 40 Filed 02/16/06 Page
      PO BOx 1713 1                                                                 FINANCIAL SERVICE S
      Wilmington , DR 19885-713 1




                                                                 February 3, 2006
      LDCCRBOI 0012329
      Lynette T . Eden
      103 Valley Rd Apt 55
      Statesboro GA 30458-476 3


      111111IIuI,IllIrll111rEIuIuIIuIIIIIuuI1III .I :uIIkIIuuI




      Dear Lynette T . Eden :

      Thank you for your recent credit application . We sincerely appreciate
      your interest in Discover Card . After carefully considering your




I
      application , however, we are unable to approve your request at this time
      for the following reasons) :

      REPOSSESSION
      COLLECTION , CHARGE - OFF, OR JUDGEMEN T
      PAST AND /OR PRESENT DELINQUENT CREDIT OBLIGATION S

      Your application was processed by-a credit scoring system that assigns a
      numerical value to the various pieces of information we consider in
      evaluating an application . These numerical values are based upon the
      results of analysis conducted on repayment histories of a large number
ss=   of .The  informaLtionyouu provided in your application,, did not
         Customers
      score a sufficient number' of points .for approval of the application . Our
      credit decision was based whale or in part on information obtained from
      the reporting agency listed on the next page .

      If you have any questions regarding this letter, please contact us at
      the address on top of this letter . Please include your name , address,
      and application number listed below . You may also contact us at the
      phone number below .


      New Accounts Department
      1-801-902-3998
      Monday - Friday 6am - 3 :30pm MT
      Application Number : 060320932067300
      Letter Code : NPCL




                                                            PILp.
       NPCL Discovercard . com 080206                                                 Page 1 012
       8896814 489614 Discovers                                             04:59 .08
Mr.                             Card, Issued by Discover Bank , Member FDIC
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This decision was based in whole or in part on information obtained in your consumer
report or the joint accountholder's consumer report from the consumer reporting agency
listed below .


Experian
PO Box 2002 701 Experian Parkway
Allen, TX 75013-2002

888-397-374 2

www .experian .com/repartacces s


You have a right under the Fair Credit Reporting Act to know the information contained in
your credit file at the consumer reporting agency . The reporting agency played no part in
our decision and is unable to supply specific reasons why we have taken action on your
Account .


If you have any questions regarding this letter, you should contact Discover Bank, issuer
of the Discover Card, at P .O . Box 15410, Wilmington, DE 19850-5410 .


THE FEDERAL EQUAL CREDIT OPPORTUNITY ACT REQUIRES THAT YOU BE PROVIDED WITH THE FOLLOWING
NOTICE :


The federal Equal Credit Opportunity Act prohibits creditors from discriminating against
credit applicants on the basis of race, color, religion, national origin, sex, marital
status, age (provided that the applicant has the capacity to enter into a binding
contract) ; because all or part of the applicant's income derives from any public
assistance program ; or because the applicant has in good faith exercised any right under
the Consumer Credit Protection Act . The federal agency which administers compliance with
this law concerning Discover Bank, the issuer of the Discover Card, is the Federal Deposit
Insurance Corporation, FDIC Consumer Response Center, 2345 Grand Boulevard, Suite 100,
Kansas City, MO 64108 .




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NPCL                               060206                                       Page 2 of 2
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